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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

Page|D 10

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CLINET SHIVES and
KENNETH SHIVES,

Plaintiffe,

VS ClVlL NO.

wei-eaja SGULD
' ~'*T:QJCT mem
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2:05€V2542 B/V
JURY DEMANDED

 

 

SCHNUCK MARKETS, INC.
Defendant.
~EECEE§BB SCHEDULING ORDER
l. Pureuant to the echeduling conference eet by

written notice,
dateS for:

INlTlAL DISCLOSURES: Sept@mber 7, 2005

JOINING PARTIES: OCtOber 25, 2005

AMENDING PLEADINGS: OCtOb€r 25, 2005

INITIAL MOTIONS TO DISMISS: NOV€mber 28,

COMPLETING ALL DISCOVERY: February 24, 2006

(a) Document Production: February 24,

(b) Depoeitione,

Admieeion: February 24, 2006

(c) Expert Witneee Diecloeure

2005

the following dates are established as the final

2006

Interrogatoriee and Requeete for

(Rul€ 26):

(l) DiScloeure of Plaintiff’e Rule 26 Expert

l

Thie document entered en t`ne docket sheet in cempiience

with Rule 58 end/or 79(e) FRCP on "

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Information: December 26, 2005
(2) Disclosures of Defendants’ Rule 26 Expert
Information: January 26, 2006

(3) Expert Witness Deposition: February 24, 2006

FILING DISPOSITIVE MOTIONS: March 24, 2006

OTHER RELEVANT MATTERS:

No depositions may be scheduled to occur after the
discovery cutoff date. All motions, requests for admissions, or
other filings that require a response must be filed sufficiently
in advance of the discovery cutoff date to enable opposing
counsel to respond by the time permitted by the Rules prior to
that date.

Motions to compel discovery are to be filed and served
by the discovery deadline or within 30 days cf the default or
service of the response, answer, or objection which is the
subject of the motion if the default occurs within 30 days of the
discovery deadline, unless the time for filing of such motion is
extended for good cause shown, or any objection to the default,
response, or answer shall be waived.

This case is set for jury trial, and the trial is
expected to last three days. The pretrial order date, pretrial
conference date, and trial date will be set by the presiding

judge.

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This case is appropriate for ADR. The parties are
directed to engage in court-annexed attorney mediation or private
mediation after the close of discovery.

The parties are reminded that pursuant to Local Rule
7(a)(1)(B), all motions, except motions pursuant to FRCP 12,56,
59 and 60, shall be accompanied by a proposed Order.

The opposing party may file a response to any motion
filed in this matter. Neither party may file an additional reply,
however, without leave of the court. If a party believes that a
reply is necessary, it shall file a motion for leave to file a
reply accompanied by a memorandum setting for the reasons for
which a reply is required.

The parties have consented to trial before the
Magistrate Judge.

This order has been entered after consultation with
trial counsel pursuant to notice. Absent good cause shown, the
scheduling dates set by this Order will not be modified or
extended.

IT lS SO ORDERED.

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DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

DATE: jorij /az/ 0?§06'

 

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
case 2:05-CV-02542 Was distributed by faX, mail, or direct printing on
August 12, 2005 to the parties listed.

 

Jimmy Moore

CIRCUIT COURT, 30TH .TUDICIAL DISTRICT

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Honorable J. Breen
US DISTRICT COURT

